Case 4:24-cr-00188-JST Document 16 Filed 06/13/24 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE NOTHERN DISTRICT OF

CALIFORNIA
UNITED STATES OF AMERICA,
Plaintiff, Cause No. 4:24-cr-00188-JST
VS. Amended Motion to Modify Conditions

of Release Filed May 23, 2024

NICHOLAS FERLATTE

Defendant.

DEFENDANT’S MOTION TO MODIFY CONDITIONS OF RELEASE

Comes now Defendant Nicholas Ferlatte, by and through his counsel Thomas F.
McKenna and hereby requests this Court enter an order modifying the conditions of release, to
allow Defendant unsupervised visits with his 14 year old son. In support thereof, Defendant

states as follows:

1. The Order Setting Conditions of Release was entered on April 9, 2024.

2. Defendant is currently being supervised by the U.S. Pretrial Services Office.

3. Defendant is fully compliant with the conditions of release.

4. Defendant now seeks a modification of this Court’s order, allowing him unsupervised
visits with his 14 year old son Kai. It is causing severe hardship on Father and Son.(See

Kai's letter attached as Exhibit A.)
Case 4:24-cr-00188-JST Document16 Filed 06/13/24 Page 2 of 4

WHEREFORE, for the foregoing reasons Defendant requests this Court enter an order

modifying his conditions of release to allow him to have unsupervised visits with his son Kai.

Dated this 13th day of June, 2024

to

DLL

Thomas F. MeKenna

Attorney for Defendant Nicholas Ferlatte
201 N Civic Dr Suite 225

Walnut Creek, CA 94596

Phone (925) 933-7500

Fax (925)933-4515
tom(@tfmcriminallawfirm.net
Case 4:24-cr-00188-JST Document 16 Filed 06/13/24 Page 3 of 4

Certificate of Service

The undersigned certifies that a true and correct copy of defendant Ferlatte’s Motion to

Modify Conditions of Release was electronically filed and served on the Court’s electronic
filing system:

DATED this 13th day of June, 2024.

Thomas F. McKenna

Attorney for Defendant Nicholas Ferlatte
201 N Civic Dr Suite 225

Walnut Creek, CA 94596

Phone (925) 933-7500

Fax (925)933-4515
tom@tfmcriminallawfirm.net

td
Case 4:24-cr-00188-JST Document16 Filed 06/13/24 Page 4 of 4

—-------- Forwarded message ---------

From: Kai Ferlatte <kaiferlatte@icloud.com>
Date: Tue, May 7, 2024 at 7:32 PM

Subject: Re: Court

To: Nicholas Ferlatte <nferlatte@gmail.com>

Hi my name is Kai Ferlatte I’m 14 years old

My dad and | have a very gocd relationship. | love him so much and | always want to
see him. Our relationship is super important to me because he is my father. | feel very
safe around him and he has never touched me in anyway inappropriately. When | look
at him, | see him as a mentor and father figure and someone who loves me so much.
It's super important to me to see him as much as possible before he’s gone.
